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                            Exhibit 31
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                             UNITED STATES DISTRICT COURT
                          FOR THE EASTERN DISTRICT OF VIRGINIA




    SONY MUSIC ENTERTAINMENT, et al.,

                           Plaintiffs,
                                                       Case No. 1:18-cv-00950-LO-JFA
                    v.

    COX COMMUNICATIONS, INC., et al.,

                           Defendants.




                 DEFENDANTS’ WITNESS LIST/RULE 26(a)(3) DISCLOSURES

           Pursuant to Rule 26(a)(3) of the Federal Rules of Civil Procedure, Defendants Cox

   Communications, Inc. and CoxCom, LLC (collectively “Defendants” or “Cox”) hereby submit

   their witness list.

           Defendants submit this witness list without waiving any of their rights, including the right

   to amend or supplement this list. Defendants also reserve the right to call any rebuttal witnesses.

           A. Defendants expect to present testimony, either live (“L”) or by deposition (“D”), or

               both, of the following witnesses (deposition designations will be filed before trial):

                     1.   Brent Beck (L)

                     2.   Christian Tregillis (L)

                     3.   Christopher Bakewell (L)

                     4.   Kevin Almeroth (L)

                     5.   Linda Trickey (L)


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                  6.    Lynne Weber (L)

                  7.    Matt Carothers (L)

                  8.    Nick Feamster (L)

                  9.    Sandy Mencher (L)

                 10.    Christopher Monson (L or D)

                 11.    Sam Bahun (L or D)

                 12.    Sidd Negretti (L)

                 13.    Slawomir Paszkowski (L or D)

                 14.    Steven Marks (L)

                 15.    Vance Ikezoye (D)

                 16.    Victoria Sheckler (L)

                 17.    Any witness listed on Plaintiffs’ Witness List/Rule 26(a)(3) Disclosures

                        and/or offered at trial.

         B. If the need arises, Defendants may present the testimony, either live (“L”) or by

            deposition (“D”), or both, of the following witnesses (deposition designations will be

            filed before trial):

                 12.    Barbara Frederiksen-Cross (L or D)

                 13.    Brian Stifel (L or D)

                 14.    Clint Summers (L or D)

                 15.    George McCabe (L or D)

                 16.    Jason Zabek (L or D)

                 17.    Joseph Sikes (L or D)

                 18.    Paul Jarchow (L or D)

                 19.    Randy Cadenhead (L or D)


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               20.   Terrance McGarty (L or D)

               21.   William Lehr (L or D)

               22.   Alasdair McMullan (L or D)

               23.   Anish Patel (L or D)

               24.   Christopher Bell (L or D)

               25.   David Benjamin (L or D)

               26.   David Kokakis (L or D)

               27.   Dong Jang (L or D)

               28.   Jason Gallien (L or D)

               29.   Jeremy Blietz (L or D)

               30.   Jon Glass (L or D)

               31.   Matt Flott (L or D)

               32.   Michael Abitbol (L or D)

               33.   Neil Carfora (L or D)

               34.   Paul Kahn (L or D)

               35.   Stephen Poltoak (L or D)

               36.   Tom Foley (L or D)

               37.   Wade Leak (L or D)

               38.   Jill Lesser (L or D)

               39.   Jorge Fuenzalida (D)

               40.   Samuel Rubin (D)

               41.   Seth Nielson (L or D)

               42.   William Basquin (D)




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                  43.     Any witness listed on Plaintiffs’ Witness List/Rule 26(a)(3) Disclosures

                          and/or offered at trial.



                                                     Respectfully submitted,

   Dated: July 16, 2019

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                                   CERTIFICATE OF SERVICE

   I hereby certify that on July 16, 2019, the foregoing was filed and served electronically by the
   Court’s CM/ECF system upon all registered users.


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